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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LYNNE L. THOMPSON,                               )
                                                 )
              Plaintiff,                         )       Civil Action No. 21-1252
                                                 )
                      v.                         )       District Judge Arthur J. Schwab
                                                 )       Magistrate Judge Maureen P. Kelly
ALLEGHENY COUNTY DISTRICT                        )
ATTORNEY’S OFFICE;                               )       Re: ECF No. 52
STEPHEN ZAPPALA, District Attorney’s             )
Office; RICHARD BYERS, Investigator for          )
District Attorney’s Office;                      )
MAGISTRATE LINDA ZURCCO;                         )
RAYMOND BITAR;                                   )
EUGENE F. RIAZZI, JR., Magistrate; and           )
ANTHONY DELUCA, Magistrate,                      )
                                                 )
              Defendants.                        )

                                  MEMORANDUM ORDER

       Plaintiff Lynne Thompson (“Plaintiff”) filed this pro se action on September 17, 2021.

ECF No. 1. While the Complaint is difficult to understand, it appears that Plaintiff challenges the

constitutionality of her arrest, prosecution, and bond in a state court criminal proceeding in

Allegheny County, Pennsylvania.

       Presently before the Court is Plaintiff’s Emergency Motion for Cease and Desist, of

Stalking, Harassment, Falsity of Imitation for Malicious Prosecution, Violations of Falsity (the

“Motion”). ECF No. 52.

       Upon review, the instant Motion, as with other of Plaintiff’s filings, is lacking in clarity.

Nonetheless, it appears that Plaintiff is moving this Court to order the Allegheny County District

Attorney’s Office and the Penn Hills Police Department to cease conduct that she characterizes as

malicious prosecution.

       The Motion will be denied for two reasons. First, this Court does not have jurisdiction
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over the Penn Hills Police Department because it is not a party to this lawsuit. Second, Plaintiff

seeks through this Motion the same relief that she seeks in her Complaint, ECF No. 1. As such,

the Motion is premature, and Plaintiff’s claims must be adjudicated on the merits. In addition, at

this initial stage of the proceedings, the averments in the instant Motion lack coherent substantive

support which can be addressed through fact discovery following final ruling on the pending

Motions to Dismiss.

          Accordingly, for the reasons set forth herein, IT IS HEREBY ORDERED that Plaintiff’s

Emergency Motion for Cease and Desist, of Stalking, Harassment, Falsity of Imitation for

Malicious Prosecution, Violations of Falsity, ECF No. 52, is DENIED.

          In accordance with the Magistrate Judges Act, 28 U.S.C. § 636(b)(1), and Rule 72.C.2 of

the Local Rules of Court, the parties are allowed fourteen (14) days from the date of this Order to

file an appeal to the District Judge which includes the basis for objection to this Order. Any appeal

is to be submitted to the Clerk of Court, United States District Court, 700 Grant Street, Room 3110,

Pittsburgh, PA 15219. Failure to file a timely appeal will constitute a waiver of any appellate

rights.



DATED: May 11, 2022                                   BY THE COURT:

                                                      _/s/ Maureen P. Kelly____
                                                      MAUREEN P. KELLY
                                                      UNITED STATES MAGISTRATE JUDGE




cc:       Honorable Arthur J. Schwab,
          United States District Judge


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Lynne L. Thompson
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